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 7

 8
                             UNITED STATES DISTRICT COURT
 9
                        CENTRAL DISTRICT OF CALIFORNIA
10

11
     HOANG MINH LE, an individual            Case No.: 5:21-cv-01316
12
                Plaintiff,                   VERIFIED COMPLAINT FOR
13
          vs.
14                                              (1) VIOLATION OF THE UNRUH
     LA PEER INVESTMENTS, LLC, a                    CIVIL RIGHTS ACT
15   limited liability company,
                                                    (CALIFORNIA CIVIL CODE
16              Defendants.                         §§ 51, 52);
17                                              (2) VIOLATIONS OF THE
                                                    AMERICANS WITH
18
                                                    DISABILITIES ACT OF 1990
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                                  VERIFIED COMPLAINT
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                                          I.     SUMMARY
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             1.    This is a civil rights action by Plaintiff HOANG MINH LE (“Plaintiff”)
 3
     for discrimination at the building, structure, facility, complex, property, land,
 4
     development, and/or the entire parking lot surrounding the shopping plaza located at:
 5
     5119 Jurupa Ave, Riverside, CA 92504 (the “Property”). Plaintiff is often in the area
 6
     for dining and entertainment. On this particular visit, he desired to patronize the store
 7
     “Aztecs Market” located at the Property.
 8
             2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
 9
     and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
10
     12101, et seq.) and related California statutes1 against Defendant, the tenant and/or
11
     owner of the Property LA PEER INVESTMENTS, LLC, a limited liability company
12
     (“Defendant”).
13
                                                 II.
14
                                           JURISDICTION
15
             3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
16
     for ADA claims.
17
             4.    Supplemental jurisdiction for claims brought under parallel California
18
     law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
19
     1367.
20
             5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
21
                                                 III.
22
                                                VENUE
23
             6.    All actions complained of herein take place within the jurisdiction of the
24
     United States District Court, Central District of California, and venue is invoked
25
     pursuant to 28 U.S.C. § 1391(b), (c).
26
                                                 IV.
27

28   1
      Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
                                                    1
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 1
                                               PARTIES
 2
           7.       On information and belief, Plaintiff alleges that Defendant is, or was at
 3
     the time of the incident, the owners, operators, lessors and/or lessees of the Property,
 4
     and consist of a person (or persons), firm, company, and/or corporation.
 5
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
 6
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
 7
     is “physically disabled” as defined by all applicable California and United States laws,
 8
     and a member of the public whose rights are protected by these laws. Plaintiff is a
 9
     resident of San Bernardino, California. Plaintiff is not considered a high frequency
10
     litigant as that term is defined in California Code of Civil Procedure § 425.55(b). In
11
     the twelve months preceding the filing of this complaint, Plaintiff filed approximately
12
     six (6) other construction accessibility related claims.
13
                                                       V.
14
                                                  FACTS
15
           9.       On or about September 12, 2019, Plaintiff patronized the Property. The
16
     Property is a sales or retail establishment, open to the public, which is intended for
17
     nonresidential use and whose operation affects commerce.
18
           10.      Plaintiff visited the Property and encountered barriers (both physical and
19
     intangible) that interfered with Plaintiff’s ability to use and enjoy the goods, services,
20
     privileges and accommodations offered at the facility. To the extent known by
21
     Plaintiff, the barriers at the Property included, but are not limited to the following:
22
                 a. The access aisle and/or accessible parking spaces have slopes and cross
23
                    slopes that exceed 2.0%, including but not limited to ramps that protrude
24
                    into access aisles creating excessive sloping. Without a level parking
25
                    space, it becomes difficult for Plaintiff to unload/transfer from his vehicle
26
                    as his wheelchair rolls.
27
                 b. To the extent that the ramps protruding onto the access aisle are intended
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                    to provide an accessible pathway, the ramps are too steep and do not
                                                   2
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 1
                  contain the required handrails, thus making it extremely unsafe for
 2
                  Plaintiff to use because when going up or down the makeshift ramp,
 3
                  Plaintiff can easily lose his balance falling of the deep edge.
 4
           11.    These barriers to access are listed without prejudice to Plaintiff citing
 5
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
 6
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
 7
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
 8
     Property.
 9
           12.    Plaintiff experienced difficulty, discomfort and embarrassment as a result
10
     of the accessible barriers he encountered. He continues to be deterred from visiting
11
     the Property because of the future threats of injury created by these barriers. Plaintiff
12
     would patronize the Property once the barriers are removed as he enjoys patronizing
13
     the stores at the Property and lives close to the area.
14
           13.    On information and belief, Plaintiff alleges that Defendant knew that
15
     these elements and areas of the Property were inaccessible, violate state and federal
16
     law, and interfere with (or deny) access to the physically disabled. Moreover,
17
     Defendant has the financial resources to remove these barriers from the Property
18
     (without much difficult or expense), and make the Property accessible to the
19
     physically disabled. To date, however, the Defendant refuses to remove those
20
     barriers.
21
           14.    On information and belief, Plaintiff alleges that at all relevant times,
22
     Defendant has possessed and enjoyed sufficient control and authority to modify the
23
     Property to remove impediments to wheelchair access and to comply with the
24
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
25
     Defendant has not removed such impediments and has not modified the Property to
26
     conform to accessibility standards.
27
                                               VI.
28
           FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
                                                  3
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 1
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
 2
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
 3
                                      CODE SECTION 51(f)
 4
           15.    Plaintiff incorporates the allegations contained in paragraphs 1 through
 5
     14 for this claim and incorporates them herein.
 6
           16.    At all times relevant to this complaint, California Civil Code § 51 has
 7
     provided that physically disabled persons are free and equal citizens of the state,
 8
     regardless of disability or medical condition:
 9
           17.    All persons within the jurisdiction of this state are free and equal, and no
10
     matter what their sex, race, color, religion, ancestry, national origin, disability, or
11
     medical condition are entitled to the full and equal accommodations, advantages,
12
     facilities, privileges, or services in all business establishments of every kind
13
     whatsoever. Cal. Civ. Code § 51(b).
14
           18.     California Civil Code § 52 provides that the discrimination by Defendant
15
     against Plaintiff on the basis of his disabilities constitutes a violation of the anti-
16
     discrimination provisions of §§ 51 and 52.
17
           19.    Defendant’s discrimination constitutes a separate and distinct violation of
18
     California Civil Code § 52 which provides that:
19
           Whoever denies, aids or incites a denial, or makes any discrimination or
20
           distinction contrary to section 51, 51.5 or 51.6 is liable for each and every
21
           offense for the actual damages, and any amount that may be determined by a
22
           jury, or a court sitting without a jury, up to a maximum of three times the
23
           amount of actual damage but in no case less than four thousand dollars ($4,000)
24
           and any attorney’s fees that may be determined by the court in addition thereto,
25
           suffered by any person denied the rights provided in Section 51, 51.5 or 51.6.
26
           20.    Any violation of the Americans with Disabilities Act of 1990 (as pled in
27
     the Second Cause of Action) constitutes a violation of California Civil Code § 51(f)
28
     thus independently justifying an award of damages and injunctive relief pursuant to
                                                   4
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 1
     California law. Per § 51(f), “[a] violation of the right of any individual under the
 2
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
 3
     section.”
 4
           21.    In addition to the occurrence in September 2019 Plaintiff is entitled to
 5
     $4,000.00 in statutory damages for each additional occurrence of discrimination under
 6
     California Civil Code § 52. Plaintiff continues to be deterred from visiting the
 7
     Property and thus is entitled to an additional $4,000.00 in statutory damages for each
 8
     additional instance of deterrence or discrimination which occurs from the date of this
 9
     complaint until a final judgment is rendered in this action.
10
           22.    The actions and omissions of Defendant as herein alleged constitute a
11
     denial of access to and use of the described public facilities by physically disabled
12
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
13
     result of Defendant’s action and omissions Defendant has discriminated against
14
     Plaintiff in a violation of Civil Code §§ 51 and 51.
15
                                               VII.
16
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
17
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
18
           23.    Plaintiff incorporates the allegations contained in paragraphs 1 through
19
     23 for this claim and incorporates them herein.
20
           24.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
21
     Congress passed “Title III – Public Accommodations and Services Operated by
22
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
23
     entities” which are considered “public accommodations” for purposes of this title,
24
     which includes any “restaurant, bar, or other sales or rental establishment serving food
25
     or drink.” § 301(7)(B).
26
           25.    The ADA states that “[n]o individual shall be discriminated against on
27
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
28
     privileges, advantages, or accommodations of any place of public accommodation by
                                                  5
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 1
     any person who owns, leases, or leases to, or operates a place of public
 2
     accommodation.” 42 U.S.C. § 12182.
 3
           26.    The acts and omissions of Defendant set forth herein were in violation of
 4
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
 5
     Part 36 et seq.
 6
           27.    On information and belief, Plaintiff alleges that the removal of each of
 7
     the barriers complained of by Plaintiff as hereinabove alleged, were at all times herein
 8
     mentioned "readily achievable" under the standards §§ 30 l and 302 of the ADA. As
 9
     noted hereinabove, removal of each and every one of the architectural barriers
10
     complained of herein were also required under California law. Further, on information
11
     and belief, alterations, structural repairs or additions since January 26, 1993 have also
12
     independently triggered requirements for removal of barriers to access for disabled
13
     persons per § 303 of the ADA. In the event that removal of any barrier is found to be
14
     "not readily achievable," Defendant still violated the ADA, per§ 302(b )(2)(A)(v) by
15
     failing to provide all goods, services, privileges, advantages and accommodations
16
     through alternative methods that were readily achievable.
17
           28.    On information and belief, Plaintiff alleges that as of the date of
18
     Plaintiff’s encounter at the Property and as of the filing of this Complaint, the
19
     Defendant has denied and continues to deny full and equal access to Plaintiff and to
20
     other disabled persons, including wheelchair users, in other respects, which violate
21
     Plaintiff's rights to full and equal access and which discriminate against Plaintiff on
22
     the basis of his disability, thus wrongfully denying to Plaintiff the full and equal
23
     enjoyment of the goods, services, facilities, privileges, advantages and
24
     accommodations, in violation of§§ 302 and 303 of the ADA. 42 USC§§ 12182 and
25
     12183.
26
           29.    On information and belief, Plaintiff alleges that Defendant has continued
27
     to violate the law and deny the rights of Plaintiff and other disabled persons to access
28
     this public accommodation since on or before Plaintiff's encounters, as previously
                                                 6
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 1
     noted. Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
 2
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
 3
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
 4
     in violation of the ADA or has reasonable grounds for believing that he is about to be
 5
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
 6
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
 7
     make such facilities readily accessible to and usable by individuals with disabilities to
 8
     the extent required by this title."
 9
           30.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
10
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
11
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
12
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
13
     to discrimination on the basis of disability in violation of Title III and who has
14
     reasonable grounds for believing he will be subjected to such discrimination each time
15
     that he may attempt to use the Property and premises.
16
                                                 PRAYER
17
           31.    WHEREFORE, Plaintiff prays that this court award damages and provide
18
     relief as follows:
19
        1. Issue a preliminary and permanent injunction directing Defendant as current
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     owners, operators, lessors, and/or lessees of the Property to modify the above
21
     described Property and related facilities so that each provides full and equal access to
22
     all persons, including but not limited to persons with physical disabilities who use
23
     wheelchairs, and issue a preliminary and permanent injunction directing Defendant to
24
     provide and maintain facilities usable by Plaintiff and similarly situated persons with
25
     disabilities, and which provide full and equal access, as required by law, including
26
     appropriate changes in policy;
27
        2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
28
     that Defendant’s unlawful policies, practices, acts and omissions, and maintenance of
                                                   7
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 1
     inaccessible public facilities as complained of herein no longer occur, and can not
 2
     recur;
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        3. Award to Plaintiff statutory damages of $4,000 for each occurrence of
 4
     deterrence or discrimination experienced by Plaintiff until a final judgment is rendered
 5
     in this case, all according to proof;
 6
        4. Award to Plaintiff all appropriate damages, including but not limited to
 7
     statutory damages, general damages and treble damages in amounts within the
 8
     jurisdiction of this Court, all according to proof;
 9
        5. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
10
     costs of this proceeding as provided by law;
11
        6. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
12
     3291;
13
        7. Grant such other and further relief as this Court may deem just and proper.
14

15                                      ASCENSION LAW GROUP, PC

16
     DATE: August 2, 2021                        _____/s/ Pamela Tsao__
17                                           Pamela Tsao, attorney for Plaintiff
18                                                   Hoang Minh Le
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                                      VERIFIED COMPLAINT
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                                  VERIFICATION

       I, Hoang Minh Le, the plaintiff in this action, declare under penalty of
 perjury that I have reviewed the foregoing Verified Complaint. The allegations
 made therein are based upon personal knowledge known to me to be true and that
 everything represented here is true and correct. As to those allegations that I do not
 have personal knowledge of, such allegations are believed to be true based on
 specified information, documents, or both.




  Dated: August 2, 2021
                                              Hoang Minh Le
                                              Plaintiff
